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IN THE UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF GEORGIA
AUGUSTA DIVISION

NANCY Lovo, *
1'¢
Plaintiff, *
'Jr
v. * CV 111-024
11-
UNITED STATES OF AMERICA, *
-Jr
Defendant. *
*
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0 R D E R
Presently before the Court is the parties' joint

stipulation of dismissal pursuant to Federal Rule of Civil
Procedure Ql(a)(l)(A)(ii). (Doc. 21.) Accordingly, this matter
shall be DISMISSED WITH PREJUDICE. The Clerk is instructed to
CLOSE this case. Each party shall bear its own costs and fees.
ORDER ENTERED at Augusta, Georgia, this day of June,

2018.

 
  

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l STATES DISTRICT COURT
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